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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                                              Chapter 11

AMYRIS, INC., et al.,                                               Case No. 23-11131 (TMH)

                                  Debtors. 1                        (Jointly Administered)


                                                   Objections Due: September 7, 2023 at 4:00 P.M. (ET)
                                                   Hearing Date: September 14, 2023 at 2:00 P.M. (ET)

      MOTION FOR AN ORDER (I) APPROVING KEY EMPLOYEE INCENTIVE
     PLAN FOR SENIOR LEADERSHIP EMPLOYEES AND (II) APPROVING KEY
        EMPLOYEE RETENTION PLAN FOR NON-INSIDER EMPLOYEES

         The above-captioned debtors and debtors-in-possession (the “Debtors” or the “Amyris”)

file this motion (the “Motion”) for the entry of an order substantially in the form of Exhibit A

hereto (the “Proposed Order”): (i) approving key employee incentive program (the “KEIP”) for

twelve Senior Leadership Employees (as defined below) and (ii) approving a key employee

retention program (the “KERP”) for seventy-eight Non-Insider Employees (as defined below).

In support of this Motion, the Debtors rely upon and refer this Court to the Declaration of Han

Kieftenbeld in Support of the Debtors’ Chapter 11 Petitions and First Day Relief (the “First Day

Declaration”) and Declaration of Steven J. Fleming (the “Fleming Declaration”), incorporated

herein by reference.2




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
    Debtors’ proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor
    Amyris Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885
    Hollis Street, Suite 100, Emeryville, CA 94608.
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    A capitalized term used but not defined herein shall have the meaning ascribed to it in the First Day
    Declaration.


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                                    JURISDICTION AND VENUE

        1.         The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2), and the Court may enter a final order consistent with Article III of the United States

Constitution. The Debtors confirm their consent, pursuant to Rule 9013-1(f) of the Local Rules,

to the entry of a final order by the Court in connection with this Motion to the extent that it is

later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

        2.         Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.         The statutory basis for the relief requested herein are sections 105(a), 363(b), and

503(b) and (c)(3) of Title 11 of the United States Code (the “Bankruptcy Code”) and Rule 6004

of the Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”).

                                           INTRODUCTION

        4.         Prior to the Petition Date, the Debtors reduced their workforce by approximately

thirty percent (30%) over two workforce reductions that took place on or about June 26 and

August 8, 2023. As a result of the reductions in force, many of the remaining employees in the

Debtors’ accounting, finance, legal, human resources, and operations departments have

substantial additional responsibilities as they work toward a restructuring of the business. The

Debtors must seek to shore up morale in various areas of operation and management to preserve

the business and ensure a successful restructuring in these cases. These employees’

responsibilities have been further expanded to include the necessary tasks and obligations to



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make these Chapter 11 Cases run as smoothly as possible and to ensure that the Debtors

consummate a successful restructuring. The Employees’ continued focus, energy, and efforts are

critical to the Debtors’ ability to restructure and to maximize creditor recoveries in these Chapter

11 Cases.

        5.         The Debtors, with their advisors, have developed the Programs, which are

designed to retain the services of the KERP Participants and to incentivize the KEIP Participants,

as the Debtors continue to operate for numerous months in chapter 11, pursue an expedited sale

transaction, and maximize and preserve value for all stakeholders. Without this relief, KERP

and KEIP Participants will not be properly incentivized to achieve the Debtors’ objectives, which

will imperil the success of these Chapter 11 Cases. For the avoidance of doubt, the proposed

Programs seek to supplement compensation and benefits approved on an interim basis under the

First Day wage motion and to replace any expectations key employees may have to an existing

payment for severance, whether provided by the terms of contract or under the Debtors’ informal

prepetition practice.

        6.         Importantly, the Programs comply with the Bankruptcy Code.             Retention

payments will only be made to non-insider employees. As set forth in the First Day Declaration

and the Fleming Declaration, the Programs are reasonable, within the range of comparable plans,

and reflect a sound exercise of the Debtors’ business judgment. Accordingly, the Debtors

respectfully request the Court authorize the Debtors to implement the Programs.

        7.         For these reasons, and as more fully explained below, the Debtors respectfully

request that this Court grant the relief requested herein.




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                                           BACKGROUND

A.      Case Background

        8.         On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each

Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code (the

“Chapter 11 Cases”). The Debtors are authorized to continue to operate their business and

manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been appointed

in these chapter 11 cases.

        9.         Amyris was founded in 2003 to create a more stable supply of a key anti-malarial

treatment. Through Amyris’ cutting-edge science, artemisinin—the most effective anti-malarial

drug in the world—is now consistently available to treat the deadly disease. Using the same

technological innovations that produced artemisinin, Amyris has become the world’s leading

manufacturer of ingredients made with synthetic biology. Amyris provides sustainable

ingredients that are eco-friendly alternatives to raw material sourced for flavors and fragrances,

sweeteners, cosmetics, pharmaceuticals, and other consumer products.

        10.        In addition, Amyris operates a family of consumer brands that utilize the

Company’s ingredients to meet the growing demand for sustainable, effective, and accessible

products, including Biossance® (clean beauty skincare), JVN™ (haircare), Rose Inc.™ (clean

color cosmetics), Pipette® (clean baby skincare), OLIKA™ (clean wellness), MenoLabs™

(healthy living and menopause wellness), Stripes™ (menopausal wellness), and 4U by Tia™ (a

new clean haircare line).




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        11.        A detailed description of the Debtors’ business and facts precipitating the filing of

the Debtors’ chapter 11 proceedings are set forth in the First Day Declaration.

B.      General Employee Overview and Prepetition Bonus Programs

        12.        As of the Petition Date, the Debtors employ approximately 708 employees, 557 of

whom are salaried and 151 of whom are hourly (the “Employees”). The Employees perform a

variety of functions critical to the preservation of value and the administration of the Debtors’

estates. In many instances, the Employees include personnel who have specialized and unique

technical and scientific expertise, are intimately familiar with the Debtors’ businesses, processes,

and systems, and who cannot be easily replaced. Without the continued, uninterrupted services of

the Employees, the Debtors simply could not run their business and preserve value for the benefit

of all stakeholders. None of the Debtors’ employees are subject to collective bargaining

agreements.

        13.        On the Petition Date, the Debtors filed that certain Motion for Entry of Interim

and Final Orders (I) Authorizing, But Not Directing, the Debtors to (A) Pay Prepetition

Employee Wages, Salaries, Other Compensation, and Reimbursable Employee Expenses and (B)

Continue Employee Benefits Programs and (II) Grant Related Relief [Docket No. 11] (the

“Wage Motion”). Among other things, the Wage Motion sets forth the various programs and

compensation that the Debtors proposed to offer their employees postpetition. The Wage Motion

further discloses the existence of certain bonus and incentive programs offered by the Debtors

prepetition (the “Prepetition Bonus Programs”), but explicitly does not request authority to

continue to honor Prepetition Bonus Programs on a postpetition basis.

        14.        In this regard, and among the Prepetition Bonus Programs were annual and

quarterly bonuses offered to substantially all of the Debtors’ employees (the “Annual/Quarterly



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Bonus Program”). However, as of the Petition Date, the Debtors have not made payments

pursuant to the Annual/Quarterly Bonus Program based on annual and fourth quarter

performance in 2022.

        15.        Additionally, a material component of the prepetition compensation for many of

the Debtors’ employees were restricted stock units and non-qualified stock options (“Equity

Compensation”). However, in light of the Debtors’ financial condition, it is unlikely that the

Equity Compensation will have any value.

        16.        Furthermore, in the days leading up to the Petition Date, the Debtors conducted a

reduction in force, resulting in a work force reduction of approximately thirty percent (30%) of

the Debtors’ then-existing workforce. This reduction in force required employees to, in almost

all circumstances, take on more day-to-day responsibility, which responsibility is now

compounded by these Chapter 11 Cases. This reduction in force required employees to, in

almost all circumstances, take on more day-to-day responsibility, which responsibility is now

compounded by these Chapter 11 Cases.

C.      The Proposed KEIP

        17.        The “Senior Leadership Employees” are twelve members of the Debtors’ senior

leadership team, consisting of among others the Debtors’ Chief Financial Officer/Interim Chief

Executive Officer, Chief Operations Officer, Chief Strategist/Product Development, and Chief

People Officer. The Senior Leadership Employees also includes those individuals that lead the

Debtors’ consumer brands. The Senior Leadership Employees are responsible for executing the

Debtors’ operating and strategic plans, including maintaining the Debtors’ business operations,

overseeing and addressing issues during these Chapter 11 Cases, managing the Debtors’ sale and

marketing process, and maintaining employee morale and a positive culture among the Debtors’



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employees during these Chapter 11 Cases. The Debtors believe that the Senior Leadership

Employees cannot be easily replaced without significant operational setbacks and material

efficiency losses, especially during the anticipated brief duration of these Chapter 11 Cases. The

Senior Leadership Employees are vital to the on-going stability, continuity, and strength of the

Debtors during these Chapter 11 Cases.

        18.        There are two tranches of KEIP awards – the “Consumer Brands Sale KEIP

Award” and the “Supplemental KEIP Award”. The first tranche (the “Consumer Brands Sale

KEIP Award”) is payable to the twelve Senior Leadership Employees based upon either (a) the

amount of total consideration received in connection with a sale of the Debtors’ consumer assets

or (b) the total consideration received from the sale of a particular brand. The second tranche (the

“Supplemental KEIP Award”) is payable to seven of the twelve Senior Leadership Employees

who are most critical to the overall restructuring efforts based on compliance with the DIP

budget and confirmation of a chapter 11 plan. The performance targets were developed carefully

to ensure they are an appropriate “reach” to drive performance, on the one hand, but will not

present unrealistic or unattainable goals, on the other hand—which would of course thwart the

incentivizing nature of the KEIP.

        19.        Consumer Brands Sale KEIP Award. The Consumer Brands Sale KEIP Award

is a tiered award based upon, and funded by, the sale proceeds of a transaction or transactions

(the “Consumer Brands Sale Proceeds”). The total Consumer Brands Sale KEIP Award totals in

the range of $0 - $5,225,000, depending upon the sale proceeds received. Seven of the Senior

Management Employees’ award will be measured based upon the aggregate sale proceeds for all

of the consumer brands. The other five Senior Management Employees’ award will be measured

based upon the sale proceeds solely for a particular consumer brand.



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        20.        Supplemental KEIP Award. In addition to the Consumer Brands KEIP Award,

the Supplemental KEIP Award is a pool in the amount of $691,000 (the “Supplemental KEIP

Award Pool”). Supplemental KEIP Awards are payable to seven of the Senior Management

Employees instrumental in effectuating a successful restructuring and will be in addition to the

Consumer Brands KEIP Award, based upon the following targets:

                   1. Fifty percent (50%) of the target payout ($345,500) is conditioned on the

                      Debtors staying within 15% of the cumulative “Total Operating Cash Flows”

                      line item of the approved DIP financing budget in effect at the time through

                      confirmation of the chapter 11 plan.

                   2. The remaining fifty percent (50%) of the pay-out ($345,500) is earned upon

                      the successful confirmation of a chapter 11 plan.

        21.        In the event that the employment of a Senior Management Employee is

terminated without cause, prior to target, such Senior Management Employee will receive his/her

KEIP Award on a pro rata basis based on the percentage of the amount of time from the Petition

Date to the date the KEIP Award is earned. Under all other employment termination scenarios,

Senior Management Employees will not be eligible for any payments under the KEIP.

        22.        Subject to Court approval of the KEIP, the Senior Management Employees will

waive any contractual cash severance and/or bonus payments, including claims arising from

rejection of change in control agreements or executive severance agreements.

D.      The Proposed KERP

        23.        The seventy-eight Non-Insider Employees, who each serve crucial roles in the

Debtors’ various, engineering, sales, operational, and back office and administrative positions,

are divided into three tiers under the KERP:



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                      Tier One includes Non-Insider Employees who play a critical role in
                       maintaining the Debtors’ operations and have direct knowledge and expertise
                       required to execute the Debtors’ sale process and operational restructuring.

                      Tier Two includes Non-Insider Employees who for the most part are direct
                       reports to certain of the Tier One Non Insider-Employees. The loss of any
                       Non-Insider Employees in Tier Two would directly affect the ability of the
                       Tier One Non-Insider Employees to carry out their essential duties.

                      Tier Three consists of Non-Insider Employees who are necessary to support
                       the continuity of the Debtors’ operations. The continued focus of Tier Three
                       Non-Insider Employees is needed to support the administration of the chapter
                       11 cases and manage the normal day-to-day responsibilities critical to the
                       continued operation of the Debtors’ business.

        24.        Under the proposed KERP, each Non-Insider Employee will receive aggregate

payments totaling between one to three months’ base salary, depending on their tier level, in two

installments. In order to receive the first payment under the KERP, a Non-Insider Employee

must be employed by the Debtors as of November 30, 2023 (the “First KERP Trigger Date”). In

order to receive the second payment under the KERP, a Non-Insider Employee must be

employed by the Debtors upon emergence from chapter 11 (the “Second KERP Trigger Date”).

However, if a Non-Insider Employee’s employment with the Debtors is terminated without

Cause (as defined below), or due to death or disability, prior to the closing date of a sale of

substantially all the Debtors’ assets, the such Non-Insider Employee shall be entitled to receive

any payment they would have been entitled to receive under the KERP, had the Non-Insider

Employee been employed through the KERP Trigger Date.

        25.        For purposes of the preceding paragraph, “Cause” means (i) a Non-Insider

Employee’ failure to materially perform the duties for which they are employed, (ii) a Non-

Insider Employee’s willful violation of a material policy of the Debtors, (iii) a Non-Insider

Employee’s commission of any act or acts of fraud, embezzlement, dishonesty, or other willful

misconduct, (iv) a Non-Insider Employee’s material breach of any of their obligations under any


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written agreement or covenant with the Debtors, or (v) an act of dishonesty on the part of the

Non-Insider Employee resulting or intended to result, directly or indirectly, in their gain for

personal enrichment at the expense of the Debtors.

        26.        Subject to Court approval of the KERP, the Senior Management Employees will

waive any contractual cash severance and/or bonus payments, including claims arising from

rejection of change in control agreements or employment agreements. The KERP replaces all of

the Debtors’ prepetition incentive and severance plans for the Non-Insider Employees.

        27.        Because the Debtors have not made payments to the Non-Insider Employees

pursuant to the Annual/Quarterly Bonus Program for the annual and fourth quarter of 2022, the

Debtors are seeking to provide the KERP in lieu of such payments in order to meaningfully

incentivize the Non-Insider Employees to continue to provide their services to the Debtors

during these Chapter 11 Cases. The KERP proposes to incentivize approximately ten percent

(10%) of the Debtors’ total workforce and has a maximum cost of approximately $2,666,307, in

the aggregate.

                                       RELIEF REQUESTED

        28.        By this Motion, pursuant to sections 105(a), 363(b) and 503(b) and (c)(3) of the

Bankruptcy Code and Bankruptcy Rule 6004, the Debtors request the entry of the Proposed

Order, attached hereto as Exhibit A, (i) approving the KEIP for the Senior Leadership

Employees, and (ii) approving the KERP for the Non-Insider Employees.




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                                 BASIS FOR RELIEF REQUESTED

A.      The KEIP

           i.      Implementation of the KEIP Is Warranted Under Section 363(b)(1) as an
                   Appropriate Exercise of the Debtors’ Business Judgment

        29.        “The [debtor], after notice and a hearing, may use, sell, or lease, other than in the

ordinary course of business, property of the estate,” 11 U.S.C. § 363(b)(1), as long as the debtor

can “show that a sound business purpose justifies such actions.” Dai-Ichi Kangyo Bank, Ltd. v.

Montgomery Ward Holding Corp. (In re Montgomery Ward Holding Corp.), 242 B.R. 147, 153

(D. Del. 1999); see also Culp v. Stanziale (In re Culp), 550 B.R. 683, 697 (D. Del. 2015). Where

there is a reasonable basis for a debtor’s business decisions, courts generally do not contradict

the proposed course of conduct. Stanziale v. Nachtomi (In re Tower Air, Inc.), 416 F.3d 229, 238

(3d Cir. 2005) (“Overcoming the presumptions of the business judgment rule on the merits is a

near-Herculean task.”).

        30.        The reasonable use of incentives and performance bonuses are considered the

proper exercise of a debtor’s business judgment. In re Global Home Prods., LLC, 369 B.R. 778,

784 (Bankr. D. Del. 2007) (citing In re U.S. Airways, Inc., 329 B.R. 793, 795 (Bankr. E.D. Va.

2005)). Therefore, the implementation of the proposed KEIP is a sound exercise of the Debtors’

business judgment and, as such, should be approved under section 363(b) of the Bankruptcy

Code. The Senior Leadership Employees are essential to the Debtors’ operations and their

services are necessary to maximize the value of these Debtors’ estates. The KEIP establishes

goals for the Senior Leadership Employees that, if achieved, will have a meaningful impact on

the Debtors’ sale efforts. The payment levels under the KEIP are reasonable in light of the size

of the Debtors’ estates and the amounts that comparable companies have provided as incentives

to their senior leadership in other chapter 11 cases. As a result, the Debtors, in their sound


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business judgment, believe that the implementation of the KEIP is well justified under the

circumstances and will benefit the Debtors’ estates and their creditor constituencies.

          ii.      The KEIP Is Warranted Under Section 503(b)(1) as Actual, Necessary
                   Costs and Expenses of Preserving the Debtors’ Chapter 11 Estates

        31.        Section 503(b) of the Bankruptcy Code states in pertinent part that “[a]fter notice

and a hearing, there shall be allowed administrative expenses . . . including – (1)(A) the actual

necessary costs and expenses of preserving the estate including – (i) wages, salaries, and

commissions for services rendered after commencement of the case. . . .” 11 U.S.C. § 503(b);

see also In re APF Co., 270 B.R. 567, 570-71 (Bankr. D. Del. 2001) (postpetition employee

bonus is an administrative expense claim under section 503(b)(1)(A)). As discussed above, the

KEIP is appropriate designed to maximize the value of these estates and are appropriately

categorized as wages earned after the Petition Date.

         iii.      The KEIP Provides Incentives, Not Retention or Severance Payments,
                   and Therefore Sections 503(c)(1) and 503(c)(2) Do Not Apply

        32.        Sections 503(c)(1) and (2) of the Bankruptcy Code govern retention and

severance payments to insiders, and therefore does not apply to performance-based incentive

plans like the KEIP. See, e.g., In re Alpha Natural Res., Inc., 546 B.R. 348, 356 (Bankr. E.D.

Va. 2016) (“On its face, § 503(c)(1) does not apply to a KEIP because the payments thereunder

are incentive and not purely retentive.”); In re Nobex Corp., 2006 Bankr. LEXIS 417, at *8

(Bankr. D. Del. Jan. 19, 2006) (“The sale-related incentive pay to [senior management] is not

governed by sections 503(c)(1) or 503(c)(2) of the Bankruptcy Code.”).

        33.        Also, the KEIP is not subject to the restrictions set forth in section 503(c)(2) of

the Bankruptcy Code with respect to severance payments to insiders because no payments under

the KEIP are tied to the termination of employment. See In re Dana Corp., 358 B.R. 567, 577-78

(Bankr. S.D.N.Y. 2006) (incentive plan was not subject to section 503(c)(2) of the Bankruptcy

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Code because incentives were not tied to termination of employment); accord In In re Pilgrim’s

Pride Corp., 401 B.R. 229, 235-36 (Bankr. N.D. Tex. 2009) (consulting agreement did not fall

under section 503(c)(2) of the Bankruptcy Code because payments were not intended as

severance).

        34.        The KEIP was designed in order to incentivize a value maximizing sale and align

the Senior Leadership Employees’ interests with the Debtors’ economic stakeholders. The KEIP

was not designed to retain the Senior Leadership Employees, although a prerequisite to receiving

a payment under the KEIP is that the particular Senior Leadership Employee must be employed

at the time of the payment unless such employee’s employment was terminated without cause.

This should not bar its implementation; any successful incentive program would be expected to

have this indirect benefit. See, e.g., In re Global Home Prods., LLC, 369 B.R. at 786 (“The fact,

as Debtors pointed out, that all compensation has a retention element does not reduce the Court’s

conviction that Debtors’ primary goal [is] to create value by motivating performance. All

companies seek to retain employees they value by fairly compensating them.”). As a result of

the foregoing, the Debtors respectfully submit that sections 503(c)(1) and 503(c)(2) of the

Bankruptcy Code do not apply to the KEIP.

         iv.       Approval of the Proposed KEIP Is Justified by the Facts and Circumstances
                   of these Chapter 11 Cases and Therefore Satisfies Section 503(c)(3)

        35.        Section 503(c)(3) of the Bankruptcy Code prohibits transfers or obligations

outside the ordinary course of business “not justified by the facts and circumstances of the case,

including transfers made to, or obligations incurred for the benefit of, officers, managers, or

consultants hired after the date of the filing of the petition.” 11. U.S.C. § 503(c)(3). Courts use

the business judgment standard in analyzing transfers and obligations under section 503(c)(3).

See, e.g., In re Alpha Natural Res., Inc., 546 B.R. at 357-58 (citing In re Borders Grp., Inc., 453


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B.R. 459, 474 (Bankr. S.D.N.Y. 2011) (“[T]he legal standard under § 363(b) is no different than

section 503(c)(3) . . . .”); In re Global Home Prods., LLC, 369 B.R. at 786 (applying the business

judgment test to an incentive plan)).3

        36.        Courts assessing a debtor’s business judgment relating to an incentive program

under section 503(c)(3) look at six factors (the “Dana Factors”): (a) whether a reasonable

relationship existed between the proposed plan and the desired results; (b) whether the cost of the

plan was reasonable in light of the overall facts of the case; (c) whether the scope of the plan was

fair and reasonable; (d) whether the plan was consistent with industry standards; (e) whether the

debtor had put forth sufficient due diligence efforts in formulating the plan; and (f) whether the

debtor received sufficient independent counsel in performing any due diligence and formulating

the plan. In re Dana Corp., 358 B.R. at 576-77, applied in In re Global Home Products, LLC,

369 B.R. at 786.

        37.        The KEIP satisfies each of the Dana Factors. As to the first and third Dana

Factors ((a) and (c) above), the KEIP was designed to motivate the Senior Leadership Employees

for their significant efforts in these Chapter 11 Cases and to ensure that key management and

employees continue to focus their full effort and attention on the Debtors’ day-to-day operations

and affairs as well as to implement the other goals of the KEIP. The KEIP incentivizes Senior

Leadership Employees to stabilize and improve the Debtors’ business performance during

chapter 11 to make their operations an attractive target for potential sale. It fairly compensates

the Senior Leadership Employees for the increased demands placed upon them in connection


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    Although the Debtors believe that the business judgment rule applies to the “facts and circumstances” test of
    section 503(c)(3), some courts have applied a slightly higher bar. See Pilgrim’s Pride, 401 B.R. at 236-37
    (finding that, in addition to satisfying the business judgment standard, a proposed transfer was in the best
    interests of creditors and the debtor’s estate). The Debtors believe that the KEIP and KERP would also satisfy
    any more rigorous standard that this Court might choose to apply because the benefits of the KEIP and KERP,
    respectively, to Debtors’ chapter 11 estates and constituencies described in this Motion, along with the support
    for them by the Debtors’ secured creditors.

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with these Chapter 11 Cases, thereby maximizing the value of the Debtors’ chapter 11 estates for

the benefit of all parties in interest. As to the remaining Dana Factors, the KEIP was designed by

the Debtors with the assistance of PwC, which (a) priced the KEIP based on comparisons with

similar incentive plans of other comparable companies; (b) designed the KEIP to be within

industry standards; (c) performed due diligence for purposes of designing and implementing the

KEIP; and (d) provided independent counsel in performing due diligence and formulating the

KEIP.

        38.        Additionally, Courts in this district have approved similar incentive plans. See,

e.g., In re Melinta Therapeutics, Inc., et al., Case No. 19-12748 (LSS) (Bankr. D. Del. Feb. 5,

2020) (KEIP with sale price thresholds); Pacific Sunwear of California, Inc., et al., Case No. 16-

10822 (LSS) (Bank. D. Del. May 12, 2016) (plan confirmation and compliance with DIP

covenants metrics); New Gulf Resources, LLC, et al., Case No. 15-12566 (BLS) (Bankr. D. Del.

January 19, 2016); In re Hipcricket, Inc., Case No. 15-10104 (LSS) (Bankr. D. Del. March 18,

2015) (plan confirmation performance goals); In re Longview Power, LLC, et al. Case No. 13-

12211 (BLS) (Bank. D. Del. December 18, 2013) (KEIP with chapter 11 confirmation and power

capacity operation milestones).

          v.       Authorization and Approval of the KEIP is
                   Appropriate Under Section 105(a) of the Bankruptcy Code

        39.        Bankruptcy courts may “issue any order, process, or judgment that is necessary or

appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a). Courts use their section

105(a) powers to authorize payments essential to the operation of the debtor’s business and

maximizing the value of the estate. Just for Feet, Inc., 242 B.R. 821, 824-26 (D. Del. 1999)

(debtors may make payments that are essential to the continued operation of the business while

in chapter 11); Mich. Bureau of Workers’ Disability Comp. v. Chateaugay Corp. (In re


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Chateaugay Corp.), 80 B.R. 279, 287 (S.D.N.Y. 1987) (authorizing payments to employees on

grounds that the fundamental purpose of reorganization and equity powers of bankruptcy courts

“is to create a flexible mechanism that will permit … payment of creditors in full or at least

proportionately”). Here, approval of KEIP is an appropriate use of the Court’s section 105(a)

powers because the KEIP is necessary to the continued operation of the Debtors’ business and to

the maximization of the value of the Debtors’ chapter 11 estates for all stakeholders.

B.        The KERP

          40.      The KERP should also be approved under the business judgement rule as applied

under the statutory authority cited above for approval of the KEIP. 11 U.S.C. §§ 105(a) and

503(b).         The KERP, however, is different than the KEIP in a material respect in that the

employees that would benefit from it are not insiders of the Debtors and may receive time-based

retention bonuses and severance. 11 U.S.C. § 503(c).4

            i.     Because the KERP Does Not Include Insiders,
                   It Is Not Subject to Sections 503(c)(1) and (2) of the Bankruptcy Code

          41.      The KERP is not subject to the restrictions set forth in sections 503(c)(1) and (2)

of the Bankruptcy Code because the KERP is not applicable to any “insiders” (as such term is

defined by section 101(31) of the Bankruptcy Code). Generally, the Bankruptcy Code defines an

“insider” to include, among other things, “an officer of the debtor” and a “person in control of

the debtor.” 11 U.S.C. § 101(31). Courts have also concluded that an employee may be an

“insider” if that employee has “at least a controlling interest in the debtor or . . . exercise[s]

sufficient authority over the debtor so as to unqualifiably dictate corporate policy and the



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     However, the KERP does not provide severance. As discussed above with respect to the KEIP, the KERP is not
     subject to the restrictions set forth in section 503(c)(2) of the Bankruptcy Code with respect to severance
     payments to insiders because no payments under the KEIP are tied to the termination of employment, see Dana,
     358 B.R. at 577-78. Also, as discussed in the next subsection of this Motion, the Non-Insider Employees are
     not “insiders.”

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disposition of corporate assets.” In re Velo Holdings, Inc., 472 B.R. 201, 208 (Bankr. S.D.N.Y.

2012) (citation omitted). An employee’s job title, alone, does not make that employee an

“insider” as defined by the Bankruptcy Code. See In re Borders Grp., Inc., 453 B.R. 459, 469

(Bankr. S.D.N.Y. 2011) (noting that “[c]ompanies often give employees the title ‘director’ or

‘director-level,’ but do not give them decision-making authority akin to an “executive” and

concluding that certain “director-level” employees in that case were not insiders); see also In re

Foothills Texas, Inc., 408 B.R. 573, 574-75 (Bankr. D. Del. 2009) (noting that the presumption

of an officer as an insider based on title may be rebutted with “evidence sufficient to establish

that the person holds the title of an officer in name only and, in fact, does not meet the

substantive definition of the same, i.e., he or she is not taking part in the management of the

debtor.”).

        42.        As discussed above, for purposes of eligibility to participate in the KERP, the

Debtors only considered non-insider “rank and file” employees.           None of the Non-Insider

Employees are officers or hold executive-level decision making positions with the Debtors.

Therefore, no Non-Insider Employee is an “insider” of the Debtors (as such term is defined by

the Bankruptcy Code) and the restrictions of section 503(c)(1) and (2) of the Bankruptcy Code

are inapplicable to the KERP.

        43.        Because the KERP does not include insiders, the applicable standard for

evaluating the appropriateness of the KERP is provided by section 503(c)(3) of the Bankruptcy

Code. As stated above, section 503(c)(3) permits payments to a debtor’s employees outside the

ordinary course of business if those payments are justified by “the facts and circumstances of the

case.” 11 U.S.C. § 503(c)(3). As discussed above, courts have generally held that this standard

is no different from the business judgment standard applied by courts in determining whether to



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authorize the use, sale or lease of property outside the ordinary course of business under section

363(b) of the Bankruptcy Code. Accordingly, the KERP should be approved as a valid exercise

of the Debtors’ business judgment pursuant to section 363(b) of the Bankruptcy Code.

        44.        Also, the KERP satisfies each of the Dana Factors. As to the first and third Dana

Factors, the KERP was designed to motivate the Non-Insider Employees for their significant

efforts in these Chapter 11 Cases and to ensure that they continue to focus their full effort and

attention on the Debtors’ day-to-day operations and affairs as well as to implement the other

goals of the KERP including retaining as many of the Non-Insider Employees as possible at least

through the closing of the sale. The KERP fairly compensates the Non-Insider Employees for

the increased demands placed upon them in connection with these Chapter 11 Cases, thereby

maximizing the value of the Debtors’ chapter 11 estates for the benefit of all parties in interest.

As to the remaining Dana Factors, as stated above with regard to the KEIP, the KERP was

designed by the Debtors with the assistance of PwC, which (a) priced the KERP based on

comparisons with similar retention plans of other comparable companies; (b) designed the KERP

to be within industry standards; (c) performed due diligence for purposes of designing and

implementing the KERP; and (d) provided independent counsel in performing due diligence and

formulating the KERP.

        45.        The KERP is similar to retention plans routinely approved in this district. See,

e.g., In re Kona Grill, Inc., Case No. 19-10953 (CSS) (Bankr. D. Del. May 23, 2019); In re

Achaogen, Inc., Case No. 19-10844 (BLS) (Bankr. D. Del. May 8, 2019); In re Promise

Healthcare Group, LLC, Case No. 18-12491 (CSS) (Bankr. D. Del. May 6, 2019); In re

Brookstone Holdings Corp., Case No. 18-11780 (BLS) (Bankr. D. Del. Aug. 30, 2018); In re

True Religion Apparel Inc., Case No. 17-11460 (CSS) (Bankr. D. Del. Aug. 4, 2017); In re



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Pacific Sunwear of California, Inc., Case No. 16-10882 (LSS) (Docket No. 335) (Bankr. D. Del.

May 12, 2016).

        46.        Accordingly, the Debtors respectfully submit that the KERP is justified by the

facts and circumstances of these Chapter 11 Cases, is a sound exercise of business judgment, and

that implementation of the KERP is in the best interests of the Debtors, their estates, creditors

and all other stakeholders. For the reasons discussed above, the Debtors’ KERP should be

approved.

                                              NOTICE

        47.        The Debtors will provide notice of this Motion to: (a)the Office of the U.S.

Trustee for the District of Delaware; (b) the holders of the 30 largest unsecured claims against

the Debtors (on a consolidated basis); (c) counsel to the DIP Lenders, DIP Agent and the Foris

Prepetition Secured Lenders, Goodwin Procter LLP, 620 Eighth Avenue, New York, NY 10018,

Attn: Michael H. Goldstein, Esq. (mgoldstein@goodwinlaw.com), and Alexander J. Nicas, Esq.

(anicas@goodwinlaw.com); (d) co-counsel to the DIP Lenders, the DIP Agent and the Foris

Prepetition Secured Lenders, Troutman Pepper Hamilton Sanders LLP, Hercules Plaza, Suite

5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, DE 19899; Attn: David M. Fournier,

Esq. (david.fournier@troutman.com); (e) the United States Attorney’s Office for the District of

Delaware; (f) the state attorneys general for all states in which the Debtors conduct business; and

(g) any party that requests service pursuant to Bankruptcy Rule 2002. As this Motion is seeking

“first day” relief, within two business days of the hearing on the Motion, the Debtors will serve

copies of the Motion and any order entered in respect to this Motion as required by Local Rule

9013-1(m).




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                                       NO PRIOR REQUEST

          48.      The Debtors have not made any prior request for the relief sought herein to this

Court or any other court.

                                           CONCLUSION

          WHEREFORE, the Debtors respectfully request the entry of the Proposed Order granting

the relief requested herein and such other and further relief as the Court may deem just and

proper.

Dated: August 24, 2023                            PACHULSKI STANG ZIEHL & JONES LLP

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                                                  Proposed Counsel to the Debtors and Debtors in
                                                  Possession




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